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7 UNITED STATES DISTRICT COURT
8 CENTRAL DISTRICT OF CALIFORNIA
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11 }] Store SPE LA Fitness, etc, et al, SACV 20-00953JVS(ADSx)
12 Plaintiff ORDER OF DISMISSAL UPON

13 SETTLEMENT OF CASE

V.
14]
Fitness International, LLC, et al,

Defendant(s).

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19 The Court having been advised by the counsel for the parties that the above-
20 }f entitled action has been settled,
21 IT IS ORDERED that this action be and is hereby dismissed in its entirety
22 |] without prejudice to the right, upon good cause being shown within 45 days, to reopen
23 | the action if settlement is not consummated.
24 [ 1

Nene U / Ie L_
25 | DATED: November 30, 2021 / /

James V. Selna/

26 US. District Judge

 

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